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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                         DIVISION OF ST. THOMAS / ST. JOHN

 John St. Rose, Monrose Loctar, and Derrick            Case No. 3:19-cv-00117
 James, individually and on behalf of all others
 similarly situated,                                   Jury Trial Demanded

                                Plaintiffs,
          v.

 Heavy Materials, LLC, Spartan Concrete
 Products, LLC, and Warren Mosler,

                                Defendants.


                                   NOTICE OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs hereby

dismiss their claims for relief against Defendant Heavy Materials, LLC without prejudice.



DATED:         May 11, 2020                           Respectfully submitted,



                                                      ____________________________________
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                                   CERTIFICATE OF SERVICE

       Pursuant to L.R. 5.4(i)(1), I hereby certify that the foregoing Notice of Dismissal was filed

electronically, and that service was made on all parties and their counsel was accomplished through

the Notice of Electronic Filing.



                                                     ____________________________________
                                                     Korey A. Nelson, Esq.
